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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
NATALE COSENZA,                           )
                                          )
      Petitioner,                         )
                                          )
v.                                        )                   Civil Action No. 07-10316-JLT
                                          )
JOHN MARSHALL, JR.,                       )
                                          )
      Respondent.                         )
__________________________________________)

         RESPONDENT’S RULE 5 APPENDIX ACCOMPANYING HIS ANSWER

         Respondent John Marshall, Jr., (the “Respondent”) hereby submits this Appendix

Accompanying His Answer in accordance with Rule 5 of the Rules Governing Section 2254

Cases.

         1.      Attached hereto as Exhibits, in multiple volumes, are the following materials:1

                 Exhibit A.     Docket in connection with Commonwealth v. Natale Cosenza,

                                Case No. WOCR2000-00430 in the Worcester County,

                                Massachusetts, Superior Court;

                 Exhibit B.     Docket in connection with Commonwealth v. Natale Cosenza,

                                Case No. 2002-J-0116 in the Massachusetts Appeals Court;

                 Exhibit C.     Docket in connection with Commonwealth v. Natale Cosenza,

                                Case No. 2005-P-0849 in the Massachusetts Appeals Court;




1
 Pursuant to Local Rule 5.4(g)(1)(e), such Exhibits are being filed in paper form and not in
electronic form. A Notice of Filing with Clerk’s Office concerning such Exhibits is being filed
herewith.
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   Exhibit D.   Docket in connection with Commonwealth v. Natale Cosenza,

                Case No. FAR-15450 in the Massachusetts Supreme Judicial

                Court;

   Exhibit E.   Commonwealth v. Cosenza, 65 Mass. App. Ct. 1127, 844 N.E.2d

                720 (2006) (unpublished opinion);

   Exhibit F.   Commonwealth v. Cosenza, 447 Mass. 1102, 848 N.E.2d 1211

                (2006) (table decision);

   Exhibit G.   Brief and Record Appendix for the Defendant on Appeal from the

                Worcester Division of the Superior Court Department, filed in

                connection with Commonwealth v. Natale Cosenza, Case No.

                2005-P-0849 in the Massachusetts Appeals Court;

   Exhibit H.   Brief and Supplemental Record for the Commonwealth, filed in

                connection with Commonwealth v. Natale Cosenza, Case No.

                2005-P-0849 in the Massachusetts Appeals Court;

   Exhibit I.   Appellant’s Reply Brief, filed in connection with Commonwealth

                v. Natale Cosenza, Case No. 2005-P-0849 in the Massachusetts

                Appeals Court;

   Exhibit J.   Application of the Defendant for Further Appellate Review of a

                Decision Released by the Appeals Court in connection with

                Commonwealth v. Natale Cosenza, Case No. FAR-15450 in the

                Massachusetts Supreme Judicial Court; and




                                  2
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        Exhibit K.       Letter from Attorney Chauncey B. Wood to Clerk Susan Mellen of

                         May 2, 2006 in connection with Commonwealth v. Natale

                         Cosenza, Case No. FAR-15450 in the Massachusetts Supreme

                         Judicial Court.

2.      The docket sheet in connection with the Petitioner’s appeal in the Massachusetts

        Appeals Court additionally reflects the Petitioner’s filing of a post-argument letter

        on December 23, 2005. The Respondent has been unable to obtain a copy of that

        letter.

3.      The following transcripts from the Petitioner’s pretrial, trial, sentencing, and post-

        conviction proceedings are available:

        a)        one volume from a February 28, 2001, hearing on a motion for discovery

                  and order directing collection of a whole blood sample;

        b)        one volume from an August 16, 2001, hearing on a motion to suppress;

        c)        one volume from an October 21, 2001, hearing on a motion to withdraw

                  counsel and a motion to remove counsel;

        d)        seven volumes from the Petitioner’s June 2002 trial;

        e)        one volume from the Petitioner’s July 3, 2002, sentencing; and

        f)        one volume from a June 14, 2004, evidentiary hearing on a motion for

                  post-conviction relief.

4.      The Respondent is not aware of any further transcripts prepared in connection

        with the Petitioner’s pre-trial proceedings, trial, sentencing, or post-conviction

        proceedings.




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       5.      It is not evident to the Respondent from the Petition what, if any, portions of the

               transcripts listed above are relevant to the instant case.

       6.      Copies of the transcripts listed above can be furnished upon two weeks’ notice.

       7.      The December 5, 2005, oral argument before the Massachusetts Appeals Court in

               connection with the Petitioner’s appeal was recorded, but not transcribed.

       8.      The Respondent is not aware of any other proceedings that have been recorded

               but not transcribed.

       The Respondent respectfully reserves the right to amend or supplement this Appendix in

the future should that need arise.

                                                      Respectfully submitted,

                                                      MARTHA COAKLEY
                                                      ATTORNEY GENERAL


                                                       /s/ Randall E. Ravitz
                                                      Randall E. Ravitz (BBO # 643381)
                                                      Assistant Attorney General
                                                      Criminal Bureau
                                                      One Ashburton Place
                                                      Boston, Massachusetts 02108
                                                      (617) 727-2200, ext. 2852
Dated: April 13, 2007




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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the Electronic Case Filing system,
without its exhibits, will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing and paper copies, with all exhibits, will be sent to such registered
participants and those indicated as non-registered participants on the date set forth below.


Dated: April 13, 2007                                  /s/ Randall E. Ravitz
                                                       Randall E. Ravitz




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